            Case 1:19-cv-00444-LY Document 30 Filed 10/11/19 Page 1 of 3
                                                     

                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

                                             §
 J.E.B., individually and as next friend     §
 to F. C. B.,                                §       CIVIL NO.: 1:19-CV-444-LY
 Plaintiff,                                  §
                                             §
 VS.                                         §
                                             §
 CLAY DEAN HILL, individually and            §
 d/b/a SHILOH TREATMENT CENTER,              §
 SHILOH TREATMENT CENTER, INC.);             §
 JUAN J. SANCHEZ, INDIVIDUALLY               §
 and d/b/a, SOUTHWEST KEY; AND               §
 SOUTHWEST KEY PROGRAMS, INC,                §
 Defendant.                                  §


                UNOPPOSED MOTION TO DISMISS WITHOUT PREJUDICE

TO: THE HONORABLE COURT. Plaintiff files his Motion to Dismiss without Prejudice.

        Plaintiff moves the court to dismiss his claims against Defendants in the above entitled

and numbered cause without prejudice to refiling. Plaintiff has conferred with defendants who

have agreed that the motion be filed as unopposed with the provision that Defendants do not

waive any rights they may have pursuant to Federal Rule of Civil Procedure 41(d) to seek

reimbursement of all or a part of their costs from this suit in the unlikely event that Plaintiff

refiles this action.                                            

                                                         Respectfully Submitted,




                                       THE COMMISSIONERS HOUSE AT HERITAGE SQUARE
                                       2901 Bee Cave Road, Box L
                                       Austin, Texas 78746
                                       Phone: (512) 328-9099
                                       Facsimile No. (512) 328-4132
                                       Email: jjudge@jkplaw.com

                                                                                                    1
Stipulation to Dismiss
            Case 1:19-cv-00444-LY Document 30 Filed 10/11/19 Page 2 of 3
                                                

                                     ATTORNEYS FOR PLAINTIFF




                                     John Judge
                                     State bar no. 11044500

                                     DE ANDA LAW FIRM, P.C
                                     Ricardo de Anda, Texas State Bar No. 05689500
                                     212 Flores Avenue
                                     Laredo, Texas 78040
                                     Phone: (512) 328-9099
                                     Facsimile No. (512) 328-4132
                                     Email: deandalaw@gmail.com
                                     ATTORNEYS FOR PLAINTIFF

                                     WINCKLER & HARVEY, LLP
                                     4407 Bee Cave Road, Building 2, Suite 222
                                     Jay Harvey, Texas State Bar No. 09179600
                                     Austin, Texas 78746
                                     Phone: (512) 306-1800
                                     Facsimile No. (512) 593-7399
                                     Email: jharvey@wincklerharvey.com
                                     ATTORNEYS FOR PLAINTIFF


                                CERTIFICATE OF SERVICE

        By my signature below, I hereby certify that on this 11th day of October 2019 this the
foregoing document has been served by email to the following counsel of record:


Wes Griggs, SBN 08489100
301 South 17th Street
P.O. Box 517
West Columbia, Texas 77486
Tel: 979-345-5188
Fax: 979-345-4246
Email: service@wesgriggslaw.com
ATTORNEY FOR DEFENDANT, CLAY DEAN HILL

Wesson H. Tribble, SBN 20213960

                                                                                                 2
Stipulation to Dismiss
            Case 1:19-cv-00444-LY Document 30 Filed 10/11/19 Page 3 of 3
                                          

Email: wtribble@tribblelawfirm.com
TRIBBLE ROSS
6371 Richmond Avenue
Houston, Texas 77057
Monica C. Vaughan, SBN 00794787
Email: mvaughan@tribblelawfirm.com
Jennifer Sheedy, SBN 24099955
Email: jsheedy@tribblelawfirm.com
ATTORNEYS FOR DEFENDANT, SHILOH TREATMENT CENTER, INC.

Taylor Anderson, LLP
Floyd Hartley, Jr. SBN 798242
Sonia E. Johnson SBN 24002536
8150 N. Central Expressway, Suite 920
Dallas, Texas 75206
Tel: 214-445-5848
fhartley@talawfirm.com
sjohnson@talawfirm.com
ATTORNEYS FOR DEFENDANTS, SOUTHWEST KEYS & JUAN SANCHEZ




                                              John Judge




                                                                           3
Stipulation to Dismiss
